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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

 PEOPLE FOR THE ETHICAL                           )
 TREATMENT OF ANIMALS, INC.,                      )
                                                  )
                Plaintiff,                        )
                                                  )   Case No. CIV-20-612-PRW
 v.                                               )
                                                  )
 LAUREN LOWE,                                     )
                                                  )
                Defendant.                        )


                      MOTION TO APPEAR PRO HAC VICE
                 FILED ON BEHALF OF ATTORNEY ASHER SMITH

       Plaintiff, People for the Ethical Treatment of Animals, Inc., pursuant to LCvR83.2(g)

and 83.3, hereby moves this Court for an Order granting Asher Smith of the PETA Foundation

leave to practice pro hac vice for the purpose of appearing as counsel on behalf of Plaintiff

People for the Ethical Treatment of Animals, Inc. in the above-styled cause only. In support

of this motion, the undersigned states:

       1.      Heather L. Hintz, of Phillips Murrah P.C., 101 N. Robinson, Suite 1300,

Oklahoma City, Oklahoma 73102, is counsel in Oklahoma for Plaintiff in the above-

captioned matter and will continue to represent Plaintiff in conjunction with Mr. Smith.

       2.       Ms. Hintz is a resident of the State of Oklahoma, is duly admitted to practice

in all Oklahoma courts, and is a member in good standing of the U.S. District Court for the

Western District of Oklahoma, where she routinely practices.
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       3.      Mr. Smith is a member in good standing of the bar of highest court of New

York and has been admitted to practice in the Southern District of New York; further, his

license has never been suspended or revoked.

       4.      Mr. Smith’s business address, telephone number, and email address is:

                      Asher Smith
                      PETA FOUNDATION
                      1536 16th Street NW
                      Washington, DC 20036
                      Tel: (202) 483-7382
                      ashers@petaf.org

       5.      Mr. Smith does not reside in the Western District of Oklahoma, is not regularly

employed in this district, and is not regularly engaged in the practice of law in this district.

       6.      The Request for Admission Pro Hac Vice of Asher Smith, as required by

LCvR83.2(g), is attached hereto as Exhibit 1.

       WHEREFORE, People for the Ethical Treatment of Animals, Inc. respectfully

requests that this Court enter an Order granting Asher Smith leave to appear pro hac vice

on its behalf for purposes of this cause only.




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Dated: June 29, 2020                     Respectfully Submitted,

                                         /s/ Heather L. Hintz
                                         Heather L. Hintz, OBA No. 14253
                                         Mark E. Hornbeek, OBA No. 33198
                                         PHILLIPS MURRAH P.C.
                                         Corporate Tower, 13th Floor
                                         101 North Robinson
                                         Oklahoma City, Oklahoma 73102
                                         Telephone: (405) 235-4100
                                         Facsimile: (405) 235-4133
                                         hlhintz@phillipsmurrah.com
                                         mehornbeek@phillipsmurrah.com

                                         Attorneys for People for the Ethical
                                         Treatment of Animals, Inc.




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